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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

  KIMMY DENG and EKATERINA KIM,
  individually and on behalf of all others
  similarly situated,
                                                        Case No.
                               Plaintiffs,
                                                        COMPLAINT
            v.
                                                        JURY TRIAL DEMANDED
  KUDOS INNOVATIONS, INC.,

                               Defendant.


       Plaintiffs Kimmy Deng and Ekaterina Kim (“Plaintiffs”) bring this action on behalf of

themselves and all others similarly situated against Defendant Kudos (“Defendant”). Plaintiffs

make the following allegations pursuant to the investigation of their counsel and based upon

information and belief, except as to allegations specifically pertaining to themselves which are

based on personal knowledge.

                                   NATURE OF THE ACTION

       1.        Plaintiffs bring this class action lawsuit on behalf of themselves and similarly

situated consumers (“Class Members”) who purchased Defendant’s “Ultimate Diaper” (the

“Product”), which are unfit for their intended use because they contain unsafe per- and

polyfluoroalkyl substances (“PFAS”). The Products are formulated, designed, manufactured,

advertised, distributed, and sold by Defendant or its agents to consumers, including Plaintiffs,

across the United States.

       2.        PFAS are a group of synthetic chemicals known to be harmful to children.

Because PFAS persist and accumulate over time, they are harmful even at very low levels.




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Indeed, PFAS have been shown to have a number of toxicological effects in laboratory studies

and have been associated with thyroid disorders, immunotoxic effects, and various cancers. 1

       3.      Furthermore, the Centers for Disease Control and Prevention (“CDC”) outlined a

host of health effects associated with PFAS exposure, including liver damage, decreased fertility,

and increased risk of asthma.2

       4.      Despite Defendant’s representations to consumers that its Product is “the safest

diaper for baby’s sensitive skin [and] the planet” and composed of “plant-based materials,”

including on its website, independent research conducted by Plaintiffs’ counsel, utilizing a

Department of Defense ELAP-certified laboratory, revealed that the Product contains 1.8 parts

per billion PFAS.

       5.      Accordingly, Plaintiffs bring claims against Defendant individually and on behalf

of a class of all others similarly situated for (1) Violation of the Massachusetts Unfair and

Deceptive Business Practices Act: (2) violation of California’s Unfair Competition Law, Cal.

Bus. & Prof. Code § 17200, et seq.; (3) violation of the Consumers Legal Remedies Act, Cal.

Civ. Code § 1750, et seq.; (4) violation of California’s False Advertising Law, Cal. Bus. & Prof.

Code § 17500, et seq.; (5) breach of the Implied Warranty under Song-Beverly Consumer

Warranty Act, Cal. Civ. Code § 1790, et seq.; and California Commercial Code § 2314; (6)

Fraud; (7) Fraudulent Concealment or Omission; (8) Negligent Misrepresentation; (9) Unjust

Enrichment; (10) Breach of Express Warranty; and (11) Negligent Failure to Warn.



1
 See Alan D. Woolf, M.D., M.P.H., FAAP, & Lauren Zajac, M.D., M.P.H., FAAP., Report
Outlines Health Effects of PFAS Chemicals in Children, Provides Recommendations for Testing,
AM. ACAD. OF PEDIATRICS (Sept. 13, 2022),
https://publications.aap.org/aapnews/news/22138/Report-outlines-health-effects-of-PFAS-
chemicals?autologincheck=redirected.
2
 What are the Health Effects of PFAS?, AGENCY FOR TOXIC SUBSTANCES AND DISEASE
REGISTRY (Jan. 18, 2024), https://www.atsdr.cdc.gov/pfas/health-effects/index.html.


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                                             PARTIES

       6.      Plaintiff Kimmy Deng is a California citizen and resident of San Francisco.

Plaintiff Deng has a 7-month-old daughter. As recently as October 2, 2023, Plaintiff Deng

purchased Kudos’ “Ultimate Diaper” from Defendant’s website. Prior to her purchase of the

Product, Plaintiff Deng reviewed the Product’s labeling and packaging and saw that the Product

was labeled and marketed as made from “natural ingredients” and “plant-based materials” such

that the Product is toxin-free and therefore safe for infants and toddlers. Plaintiff Deng saw these

representations prior to and at the time of purchase and understood them as representations and

warranties that the Product was suitable as a safe diaper for infants and toddlers, like her own.

Plaintiff Deng relied on these representations and warranties in deciding to purchase the Product.

Accordingly, those representations and warranties were part of the basis of the bargain, in that

she would not have purchased the Product on the same terms had she known those

representations were not true. In making her purchase, Plaintiff Deng paid a price premium due

to the false and misleading claim that the product is suitable as a safe daily diaper for infants and

toddlers. Had Plaintiff Deng known that the claims that the Product is toxin-free and therefore

safe for her child were false and misleading, Plaintiff Deng would not have purchased the

Product or would have purchased it under substantially different terms. Plaintiff Deng did not

receive the benefit of her bargain because the Product was not, in fact, safe for use as a daily

diaper for infants and toddlers because of its inclusion of PFAS chemicals.

       7.      Plaintiff Deng remains interested in purchasing the Product from Defendant.

However, she is unable to determine if the Product is actually safe for her children. She

understands that the composition of the Product may change over time, but as long as Defendant

continues to represent its Product as safe for infants and toddlers by virtue of its natural




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representations, then, when presented with false or misleading information while shopping, she

will be unable to make informed decisions about whether to purchase Defendant’s Product and

will be unable to evaluate the different prices between Defendant’s Product and competitors’

products. Plaintiff Deng is further likely to be repeatedly misled by Defendant’s conduct, unless

and until Defendant is compelled to ensure that the Product’s marketing as “natural” and

therefore safe to wear, is, in fact, safe for wear by infants and toddlers.

       8.      Plaintiff Ekaterina Kim is a Massachusetts citizen who is a resident of Somerville.

Plaintiff Kim has a 3-month-old son. Plaintiff Kim purchased a monthly subscription for the

“Ultimate Diaper” as recently as December 16, 2023, from Defendant’s website. Prior to her

purchase of the Product, Plaintiff Kim reviewed the Product’s labeling and packaging and saw

that the Product was labeled and marketed as made from “natural ingredients” and “plant-based

materials” such that the Product is safe for infants and toddlers. Plaintiff Kim saw these

representations prior to and at the time of purchase, and understood them as representations and

warranties that the Product was suitable as a safe diaper for infants and toddlers, including her

son. Plaintiff Kim relied on these representations and warranties in deciding to purchase the

Product. Accordingly, those representations and warranties were part of the basis of the bargain,

in that she would not have purchased the Product on the same terms had she known those

representations were not true. In making her purchase, Plaintiff Kim paid a substantial price

premium due to the false and misleading claim that the product is suitable as a safe daily diaper

for infants and toddlers. Had Plaintiff Kim known that the claims that the Product is safe for her

child were false and misleading, Plaintiff Kim would not have purchased the Product or would

have purchased it under substantially different terms. She did not receive the benefit of her




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bargain because the Product was not, in fact, suitable for use as a safe daily diaper for infants and

toddlers because of its inclusion of PFAS chemicals.

       9.      Plaintiff Kim remains interested in purchasing the Product from Defendant.

However, Plaintiff Kim is unable to determine if the Product is actually safe for her son.

Plaintiff Kim understands that the composition of the Product may change over time, but as long

as Defendant continues to represent its Product as “natural” and thus toxin-free for infants and

toddlers, then, when presented with false or misleading information when shopping, she will be

unable to make informed decisions about whether to purchase Defendant’s Product and will be

unable to evaluate the different prices between Defendant’s Product and competitors’ products.

Plaintiff Kim is further likely to be repeatedly misled by Defendant’s conduct, unless and until

Defendant is compelled to ensure that the Product’s marketing as “natural” and therefore safe to

wear, is, in fact, safe for wear by infants and toddlers.

       10.     Defendant Kudos Innovations is a corporation, with its principal place of business

in Boston, Massachusetts. Defendant markets, sells, and distributes the Product throughout the

contiguous United States, including in California and Massachusetts. Defendant manufactured,

marketed, and sold the Products at issue at all times during the relevant class period.

                                 JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A).

There are more than 100 Class Members, the aggregate claims of all members of the proposed

Class exceed $5,000,000.00, exclusive of interest and costs, and at least one Class Member is a

citizen of a state different than Defendant.

       12.     Defendant is a corporation under the Class Action Fairness Act of 2005

(“CAFA”), 28 U.S.C. § 1332(d), and therefore a citizen of Massachusetts because Defendant has




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its principal place of business at 6 Liberty Square #551, Boston, Massachusetts 02109.

Massachusetts is the state where it has its principal place of business.

         13.    This Court has personal jurisdiction over Defendant because Defendant is at home

in this District, purposefully availed itself to the benefits of the forum, and because a substantial

portion of the events giving rise to this complaint occurred in this District.

         14.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because this District

is where a substantial part of the conduct giving rise to Plaintiffs’ claims occurred and where

Defendant is at home.

                                   FACTUAL ALLEGATIONS

I.       The Product and Defendant’s Marketing

         15.    Defendant markets and sells “The Ultimate Diaper.” The brand and product are

uniquely positioned for its use of “plant based materials.” 3 As such, Defendant markets “The

Ultimate Diaper” as safe and better than other diapers for the health of infants and toddlers, thus

appealing to the health-conscious parent. 4 In fact, Kudos knows “how important it is that you

trust what’s touching your baby’s skin (that’s why we created Kudos in the first place!).” 5

         16.    Defendant impresses its natural and safe messaging onto consumers by leveraging

plant art above affirmative claims of safety prominently on the Product’s page:




3
    Kudos, https://mykudos.com/ (Last accessed March 6, 2024).
4
 The Ultimate Diaper, KUDOS, https://mykudos.com/products/diaper (last accessed Feb. 23,
2024).
5
 Kudos, Kudos Diapers Test Negative for PFAS, (Dec. 11, 2023) available
https://mykudos.com/blogs/news/kudos-diapers-pfas-free (last accessed Mar. 3, 2024).


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          17.   Kudos is aware that its “natural” messaging is both good for business and

resonating with consumers as it prominently displays testimonials from its consumers joyfully

celebrating their purchase of a diaper free of harmful contaminants: 6




6
    Id.


                                                 7
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          18.    Such marketing underscores Defendant’s marketing claiming that the Product is

“the safest diaper for [a] baby’s sensitive skin, [and] the planet.” 7

          19.    In fact, Defendant’s promotion of its Product follows a larger industry trend of

meeting parents’ desires for natural, toxic-free baby products as “[g]rowing concerns about

infant health are driving the market for baby care products.” 8 Accordingly, because “[c]hemicals

can occasionally be found in … diapers … there is a rise in consumer demand for organic baby

care products.”9

          20.    Seeking to address consumer concerns surrounding the use of synthetic chemicals

in diapers, Kudos has placed chemical free claims at the forefront of its marketing campaign. In

fact, Kudos prominently markets on its website that the Product appealed to “Shark Tank”

investors because of its “chemical-free nature.” 10

          21.    Kudos also differentiates itself from competitors’ use of chemical-hosting fibers:

“Most bamboo fabric is actually rayon, a fiber produced through a caustic chemical process that

throws environmentally toxic carbon disulfide (can cause psychosis and lung disease) and

hydrogen sulfide (can impact reproductive and eye health) into the environment.” 11




7
    Id.
8
 Mordor Intelligence, Baby Care Products Market Size & Share Analysis – Growth Trends &
Forecasts (2024-2029), available https://www.mordorintelligence.com/industry-reports/baby-
care-products-market (last accessed Mar. 2, 2024).
9
    Id.
10
   Megan Sauer, Engineer Saw How Diapers Were Made, Thought She Could Do Better—Now
She Has A $250,000 ‘Shark Tank’ Deal, CNBC (Jan. 11, 2023),
https://www.cnbc.com/2023/01/10/shark-tank-amrita-saigal-kudos-founder-lands-deal-for-
diapers.html.
11
     Kudos, supra note 4.


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                                              Figure 5

         22.     Unfortunately, Defendant’s capitalizing on growing desires for non-toxic baby

products has left consumers like Plaintiffs unaware that Defendant’s diapers contain harmful,

toxic, PFAS chemicals.

         23.     Plaintiffs viewed Defendant’s marketing materials and campaign before making

their purchases. In so doing, they relied on Defendant’s representations, warranties, and

omissions in purchasing the Product.

II.      PFAS in Defendant’s Products.

         24.     Defendant’s Product poses a health and safety risk to children due to the presence

of PFAS in the Product.

         25.     In December 2023, Kudos issued a press release on its website claiming its size 4

“Ultimate Diaper” tested negative for PFAS.12 However, although Kudos warranted to

consumers that its size 4 diapers—and by extension all of its products since its “diapers [] are


12
     See Kudos, supra note 5.


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made with the exact same materials and at the same facility as all of [its] diapers,” 13 are PFAS-

free, Plaintiffs’ January 2024 test results show that statement is not true.

           26.   Indeed, a Department of Defense ELAP-certified laboratory—commissioned by

Plaintiffs’ Counsel—tested the Product and found that the Product contained 1.8 parts per billion

(PPB) of PFAS.

           27.   Thus, contrary to Defendant’s representations that the Product is made from

“natural” plant-based material and PFAS-free, PFAS are prevalent in the Product thereby making

it unsafe for infants and babies.

           28.   Defendant, as the marketer, manufacturer, and producer of the Product, knew or

should have known about the presence of such PFAS in its Product when making its natural and

plant-based representations.

           29.   Instead, Defendant chose not to disclose the PFAS-content of its Product, and

instead affirmatively denied its presence and concealed this information from health-conscious

consumers looking to purchase a Product that is safe to use for their newborns and babies. No

reasonable consumer, purchasing diapers for their babies, marketed as made with natural, plant-

based material for a baby’s sensitive skin, would expect that product to also have high levels of

highly toxic PFAS chemicals.

           30.   Alarmingly, PFAS are particularly problematic to human health—and young

children especially—as PFAS exposure to sensitive skin can cause toxic PFAS chemicals to

remain in the body for years after exposure. PFAS exposure has been linked to severe health

consequences.




13
     Id.


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III.   PFAS Chemicals Are Harmful to Babies and Infants

       31.     PFAS chemicals “are man-made chemicals that have been used in industry and

consumer products worldwide since the 1940s. They have been used to make nonstick

cookware, water-repellent clothing, stain resistant fabrics and carpets, some cosmetics, some

firefighting foams, and products that resist grease, water, and oil.” 14

       32.     PFAS are often divided into two groups: long chain and short chain, both of

which break down slowly, if at all.15 In fact, long chain PFAS have been banned in the European

Union and phased out by major U.S. manufacturers due to their health risks. 16 Regardless of

length, research from the U.S. National Toxicology Program suggests that both long chain and

short chain PFAS have similar levels of toxicity. 17

       33.     PFAS chemicals have been connected with severe and lingering health

consequences. Erika Schreder, Director of Science at Toxic-Free Future, and Jennifer Dickman,

Senior Program Associate of Safer Chemicals, Healthy Families, have explained that [p]rimary




14
   Agency for Toxic Substances and Disease Registry, Per= and Polyfluoroalkyl Substances
(PFAS) and Your Health, U.S. DEP’T OF HEALTH AND HUM. SERVS. (Jan. 18, 2024) available
https://www.atsdr.cdc.gov/pfas/health-
effects/overview.html#:~:text=They%20have%20been%20used%20to,grease%2C%20water%2
C%20and%20oil. (last accessed Mar. 4, 2024).
15
   National Institute of Environmental Health Sciences, Perfluoroalkyl and Polyfluoroalky
Substances, U.S. DEP’T OF HEALTH AND HUM. SERVS. (Dec. 4, 2023),
https://www.niehs.nih.gov/health/topics/agents/pfc. (last accessed Mar. 11, 2024).
16
   Per- and Polyfluoroalkyl Substance (PFAS), AM. WATER WORKS ASS’N (Aug. 12, 2019),
https://www.awwa.org/Portals/0/AWWA/ETS/Resources/Per-
andPolyfluoroalkylSubstances(PFAS)-OverviewandPrevalence.pdf?ver=2019-08-14-090234-
873. (last accessed Mar. 12, 2024).
17
  Nat’l Toxicology Program, Per- and Polyfluoroalkyl Substances (PFAS), NAT’L INST. OF
HEALTH (Jan. 8, 2024), https://ntp.niehs.nih.gov/whatwestudy/topics/pfas (last accessed Mar. 12,
2024).


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among [PFAS-linked health concerns] are cancer and effects on lipid metabolism, but they also

include immune suppression, thyroid disease, and harm to reproduction.” 18

       34.     Similarly, Dr. Lina S. Birnbaum, Scholar in Residence at Duke University,

Scientist Emeritus and Former Director of the National Institute of Environmental Health

Sciences (NIEH) and National Toxicology Program, stated that “[t]hese toxic chemicals are

linked to serious problems like cancer, liver damage, decreased fertility, and asthma. … PFAS

can [also] weaken our immune system, making us more vulnerable to infectious diseases like

COVID-19.”19

       35.     Additionally, in children, PFAS has also been linked to “[l]ower antibody

response[s] to some vaccines,”20 thereby rendering children more vulnerable to disease they

would otherwise be immune from.

       36.     Defendant is correct: babies have sensitive skin. “A newborn’s skin is

significantly thinner and more permeable than that of an adult and can more readily absorb

chemicals.”21 Not surprisingly then, the American Academy of Pediatrics confirm that

“[c]hildren are more vulnerable to environmental pollutants like PFAS than adults because of …

lower body weight, differences in water and food intake, developing organ systems and longer



18
  Erika Schreder and Jennifer Dickman, Take Out Toxics: PFAS Chemicals In Food Packaging
1-26, 6 (2019), TOXIC FREE FUTURE, available, chrome-
extension://efaidnbmnnnibpcajpcglclefindmkaj/https://toxicfreefuture.org/wp-
content/uploads/2019/05/Take-Out-Toxics-Full-Report.pdf. (last accessed Mar. 12, 2024).
19
  New Study Indicates Toxic Chemicals Used In Take-Out Food Packaging From Popular Food
Chains, ECOLOGY CTR., https://www.ecocenter.org/new-study-indicates-toxic-chemicals-used-
take-out-food-packaging-popular-food-chains (last accessed Feb. 23, 2024).
20
  EGLE Classroom: Introduction to PFAS, MICH. PFAS ACTION RESPONSE TEAM,
https://www.michigan.gov/pfasresponse/faq/categories/pfas-101 (last accessed Feb. 12, 2024)
21
   Sydney Swanson, EWG’s Healthy Living: Quick Tips to Safer Diapers, ENV’T WORKING GRP.,
(Dec. 10, 2020) available https://www.ewg.org/research/guide-safer-diapers (last accessed Mar.
5, 2024).


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lifespans during which toxic effects might manifest.”22 Accordingly, the presence of PFAS in

the Product is particularly alarming, as it is designed to be used at infancy and through early

childhood.

           37.   In addition, diapers containing PFAS are cause for concern because “[t]he skin in

the area around a baby’s genitals is even thinner and more susceptible to exposure to potentially

harmful chemicals.”23 For girls, the presence of PFAS in products coming in contact with

vaginal tissue adds further concern. According to expert Alexandra Scranton, “vaginal or vulvar

tissue [is] much different and more sensitive than the skin on the rest of [the] body.” 24 This is

because “[t]he walls of the vagina are filled with numerous blood vessels and lymphatic vessels,

which allow for direct transfer of chemicals into the circulatory system.” 25 Accordingly,

“[c]hemicals absorbed through the vagina are easily and effectively distributed throughout the

body, without being metabolized.”26

           38.   Moreover, according to Jessica Singh of Columbia University’s Mailman School

of Public Health, “the vagina is an effective delivery route of drugs to the systemic circulation

system, suggesting that it could also effectively deliver other compounds like toxic chemicals, to

the circulation.”27 “This is due to the abundance of arteries, blood and lymphatic vessels in the

walls of the vagina mucosa, and the fact the absorption through this route bypasses first-pass



22
     Woolf, supra note 1.
23
     Sydney Swanson, supra note 20.
24
  Alexandra Scranton, Chem Fatale: Potential Health Effects of Toxic Chemicals in Feminine
Care Products, 9 WOMEN’S VOICES FOR THE EARTH 4 (2013), https://womensvoices.org/wp-
content/uploads/2013/11/Chem-Fatale-Report.pdf.
25
     Id.
26
     Id.
27
  Jessica Singh, et al., Tampon Use, Environmental Chemicals and Oxidative Stress in the
BioCycle Study, 18:11 ENV’T HEALTH, 1-9, 2 (2019)


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metabolism, by directly entering the peripheral circulation.” 28 “For instance, vaginal

administration of estradiol results in significantly higher blood serum levels compared to oral

administration. Furthermore, vulvar and vaginal tissues are more hydrated and permeable

compared to the skin on the rest of the body, which may make these more susceptible to

chemical exposure. Moreover, in addition to systemic exposure, vaginal exposure to chemicals

and drugs can also have local effects on vaginal and cervical tissue.” 29

           39.   The health risk to infants and babies using diapers with PFAS chemicals becomes

even more alarming when understood how frequently they are exposed to those chemicals

through ordinary use. The American Academy of Pediatrics estimates that “[m]ost U.S. parents

will go through nearly 3,000 diapers during their baby’s first year alone and average six diaper

changes a day for an estimated total of 8,000 over the course of the baby’s diaper-wearing

career.”30

           40.   For both boys and girls, this repeated, high, and direct skin exposure creates a

sever risk to the baby. For context, researchers studying the effects of low level, repeated

exposure of certain PFAS chemicals on the skin of rodents showed “significantly reduced levels

of antibodies,” demonstrating that PFAS had been absorbed through the skin. 31




28
     Id.
29
     Id.
30
   Laura A. Jana, M.D., FAAP & Jennifer Shu, M.D., FAAP., Changing Diapers, AM. ACAD. OF
PEDIATRICS (May 19, 2021) available https://www.healthychildren.org/English/ages-
stages/baby/diapers-clothing/Pages/Changing-Diapers.aspx (last accessed Mar. 11, 2024).
31
  Ketura Persellin, Study: PFAS Exposure Through Skin Causes Harm Similar to Ingestion,
ENV’T WORKING GRP. (Jan. 13, 2020) available https://www.ewg.org/news-insights/news/study-
pfas-exposure-through-skin-causes-harm-similar-ingestion.


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           41.   Accordingly, direct PFAS exposure to infants and babies from Defendant’s

diapers poses a health risk, the likes of which Plaintiffs and Class Members sought to avoid by

purchasing Defendant’s plant-based, natural-material Products for their babies.

IV.        Defendant’s Misrepresentations And Omissions Are Actionable

           42.   Plaintiffs and Class Members would not have purchased the Product on the same

terms had they known the truth about the Product. At worst, the Product is worthless, as it is

marketed as made with natural ingredients, PFAS-free, and safe to use on babies and infants

despite testing positive for PFAS chemicals, thus rending the product unsafe for babies and

infants.

           43.   Plaintiffs and Class Members bargained for diapers that were natural and thereby

free of harmful toxins, and were deprived of the basis of their bargain when Defendant sold them

a Product containing PFAS.

           44.   No reasonable consumer would expect that a diaper marketed as being made from

plant-based, natural material would pose a risk to health, safety, and well-being by containing

dangerous levels of PFAS chemicals linked to harmful health effects in babies. Accordingly,

Plaintiffs and Class Members suffered economic injuries as a result of purchasing the Product.

           45.   Moreover, because these facts relate to a critical safety-related deficiency in the

Product, Defendant was under a continuous duty to disclose to Plaintiffs and Class Members the

true standard, quality, and grade of the Product and to disclose that the Product may contain

substances known to have adverse health effects. Defendant, as manufacturer or party to a

contract to manufacture, thereby providing and approving designs of the product, and as seller

and advertiser of the Products, is best situated to know the content of its Products. Nonetheless,




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Defendant concealed and affirmatively misrepresented the true nature of the Product, as

discussed herein.

         46.     Likewise, Defendant is in the best position to know what content it placed on its

website and in marketing materials during the relevant timeframe. Defendant is also best

positioned to know of the presence of PFAS in its product, and its failure to disclose the

existence of these chemicals in the Product to consumers.

         47.     As described herein, Plaintiffs each purchased “The Ultimate Diaper” (the

“Purchased Product”). All sizes of the diaper are substantially similar to the Purchased Products

Defendant has publicly stated that all sizes of its diapers are “made with the exact same materials

and at the same facility as all of [its] diapers.” 32

         48.     Plaintiffs have satisfied the requirements of Rule 9(b) by alleging the following

facts with particularity:

         49.     WHO: Defendant, Kudos, made material misrepresentations and omissions of

fact about the Product through labeling, website representations, and marketing statements,

which include the representations that Defendant “take[s] pride” in creating “the safest diaper for

a baby’s sensitive skin,” and affirmatively stated that its Products are free from PFAS while

simultaneously representing that the Product was comprised of plant-based, natural materials.

         50.     WHAT: Defendant’s conduct was, and continues to be, fraudulent because it

omitted and/or concealed that the Product contains substances—PFAS—that are widely known

to have significant health repercussions. Thus, Defendant’s conduct deceived Plaintiffs and

Class Members into believing that the Product is safe for children and infants when it is not.

Defendant knew or should have known that this information is material to reasonable consumers,


32
     Kudos, supra note 5.


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including Plaintiffs and Class Members in making their purchasing decisions, yet Defendant

continued to pervasively market the Product in this manner.

       51.     WHEN: Defendant made material misrepresentations and/or omissions during

the putative Class periods, including prior to and at the time Plaintiffs and Class Members

purchased the Product, despite its knowledge that the Product contains harmful substances.

       52.     WHERE: Defendant’s marketing message was uniform and pervasive, carried

through material misrepresentations and/or omissions on the labeling of the Product’s packaging,

website, and through marketing materials.

       53.     HOW: Defendant represented that the Product was made from natural, plant-

based materials and affirmatively represented the Product as PFAS-free. Defendant made

material misrepresentations and/or failed to disclose material facts regarding the presence of

PFAS in the Product.

       54.     WHY: Defendant made the material misrepresentations and/or omissions

detailed herein for the express purpose of inducing Plaintiffs, Class Members, and all reasonable

consumers to purchase the Product, the effect of which was that Defendant profited by selling the

Product.

       55.     INJURY: Plaintiffs and Class Members purchased, paid a premium, or otherwise

paid more for the Product than they otherwise would have absent Defendant’s misrepresentations

and/or omissions.

                                   CLASS ALLEGATIONS

       56.     Nationwide Class. Plaintiffs bring this nationwide class action pursuant to rules

23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure, individually and on

behalf of a class defined as:




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               All persons in the United States who purchased the Product during the statute of
               limitations period (the “Class”).

       57.     Excluded from the Class are: (1) persons who made such purchases for purposes

of resale; (2) any Judge or Magistrate presiding over this action and any members of their

families; (3) Defendant, Defendant’s subsidiaries, parents, successors, predecessors, and any

entity in which Defendant or its parent has a controlling interest and their current or former

employees, officers, and directors; and (4) Plaintiffs’ counsel and Defense counsel.

       58.     California Subclass. Plaintiff Deng also seeks to represent a subclass of:

               All persons who purchased the Product in the State of California during the
               statute of limitations period (the “California Subclass”).

       59.     Excluded from the California Subclass are: (1) persons who made such purchases

for purpose of resale; (2) any Judge or Magistrate presiding over this action and any members of

their families; (3) Defendant, Defendant’s subsidiaries, parents, successors, predecessors, and

any entity in which Defendant or its parent has a controlling interest and their current or former

employees, officers, and directors; and (4) Plaintiffs’ counsel and Defense counsel.

       60.     As a result of additional information obtained through further investigation and

discovery, the above-described Class and Subclass may be modified or narrowed as appropriate.

       61.     Numerosity. At this time, Plaintiffs do not know the exact number of members of

the aforementioned Class and Subclass (“Class Members” or “Subclass Members”). However,

given the nature of the claims, Plaintiffs believe that Class and Subclass Members are so

numerous that joinder of all members is impracticable.

       62.     Commonality and Predominance. There is a well-defined community of interest

in the questions of law and facts involved in this case. Questions of law and fact common to




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members of the Class that predominate over questions that may affect individual Class Members

include:

               (a)     Whether the Product contains PFAS;

               (b)     Whether Defendant misrepresented and/or failed to disclose material facts
                       concerning the Product;

               (c)     Whether Defendant had a duty to disclose the presence of PFAS in its
                       Products;


               (d)     Whether the Product posed a health risk to children and babies;

               (e)     Whether Defendant’s conduct was unlawful;

               (f)     Whether Defendant has been unjustly enriched as a result of the unlawful
                       conduct alleged in this Complaint such that it would be inequitable for
                       Defendant to retain the benefits conferred upon it by Plaintiffs and the
                       Class;

               (g)     Whether Plaintiffs and the Class sustained damages with respect to the
                       common law claims asserted, and if so, the proper measure for their
                       damages;
       63.     With respect to the California Subclass, additional questions of law and fact

common to the members include whether Defendant violated California Civil Code § 1750, et

seq., California’s Consumers Legal Remedies Act; Business & Professions Code § 17500, et

seq., California’s False Advertising Law; and Business & Professions Code § 17200, et seq.,

California’s Unfair Competition Law.

       64.     Typicality. The claims of the named Plaintiffs are typical of the claims of the

Classes because the named Plaintiffs, like other members of the Classes, purchased the Product

and Defendant’s substantially similar Products, relying on the representations and warranties

made by Defendant on its packaging and online that the Products were made with natural, plant-

based ingredients, and therefore the safest diapers on the market for their babies.




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       65.     Adequate Representation. Plaintiffs are adequate representatives of the Class and

California Subclass because their interests do not conflict with the interests of the Class

Members they seek to represent, they have retained competent counsel experienced in

prosecuting class actions, and they intend to prosecute this action vigorously. The interests of

the Class Members will be fairly and adequately protected by Plaintiffs and their counsel.

       66.     Superiority. The class mechanism is superior to other available means for the fair

and efficient adjudication of the claims of Class Members. Each individual Class Member may

lack the resources to undergo the burden and expense of individual prosecution of the complex

and extensive litigation necessary to establish Defendant’s liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendant’s liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of liability issues.

                                      CAUSES OF ACTION

                                        COUNT I
        Violation of the Massachusetts Unfair and Deceptive Business Practices Act
                      Massachusetts General Laws Chapter 93A et seq.
                           (On Behalf Of The Nationwide Class)

       67.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       68.     Plaintiffs bring this claim individually and on behalf of the members of the

Nationwide Class against Defendant.




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       69.     Section 2 of Chapter 93 – the Massachusetts Unfair and Deceptive Business

Practices Act (“MUDBPA”) – prevents the use of “unfair or deceptive business acts or practices

in the conduct of any trade or commerce.” An act is “deceptive” under Chapter 93A “if it could

reasonably be found to have caused a person to act differently from the way he otherwise would

have acted.” Tagliente v. Himmer, 949 F.2d 1, 7 (1st Cir. 1991).

       70.     It is “the intent of the legislature that in construing” whether an act is deceptive

under 93A § 2, “the courts will be guided by the interpretations given by the Federal Trade

Commission and the Federal Courts to section 5(a)(1) of the Federal Trade Commission Act (15

U.S.C. 45(a)(1)), as from time to time amended.” See Mass. Gen. Laws Ch. 93A, § 2.

       71.     Section 9 provides: “Any person … who has been injured by another person’s use

or employment of any method, act or practice declared to be unlawful by section two … may

bring an action in the superior court … for damages and such equitable relief, including an

injunction, as the court deems to be necessary and proper. … Any person entitled to bring such

an action may, if the use or employment of the unfair or deceptive act or practice has caused

similar injury to numerous other persons similarly situated and if the court finds in a preliminary

hearing that he adequately and fairly represents such other persons, bring the action on behalf of

himself and such other similarly situated persons.”

       72.     Pursuant to the definitions codified in Chapter 93A § 1, Defendant is a “person”

and Defendant is engaged in “trade” and “commerce” in Massachusetts, because Defendant

resides in Massachusetts and the acts and omissions alleged above and incorporated herein

originated from Massachusetts.




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        73.     By engaging in the acts and omissions alleged above and incorporated herein,

Defendant has engaged and continues to engage in unfair or deceptive acts or practices in the

conduct of trade or commerce.

        74.     Defendant’s misrepresentations deceived, and have a tendency to deceive, a

reasonable consumer and the general public.

        75.     Defendant’s acts and omissions are material, in that a reasonable person would

attach importance to the information and would be induced to act on the information in making

purchase decisions.

        76.     Defendant has also committed a violation of MUDBPA predicated on its violation

of FTC regulations. Specifically, by representing that the Product was made with natural, plant-

based ingredients, and therefore safe for use on newborns and infants when it was in fact not,

Defendant violated FTC regulations. The foregoing constitutes a per se violation of the

MUDBPA because MUDBPA explicitly incorporates FTC guidance on what is “unfair or

deceptive.”

        77.     Plaintiffs and the Nationwide Class reasonably relied upon, and were deceived by,

Defendant’s statements when they purchased the Product.

        78.     Defendant knowingly misrepresented that the Product was safe at the time of sale

and at all relevant times thereafter.

        79.     Had Plaintiffs known that the Product was not safe for babies because of the

inclusion of PFAS chemicals, as reasonable consumers and federal regulations define the term,

they would not have purchased the Product.

        80.     Defendant’s misconduct caused Plaintiffs and the Nationwide Class Members to

suffer an injury, adverse consequence, or loss because (a) they would not have purchased the




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Product on the same terms if the true facts were known about the Product; (b) they paid a price

premium for the Product due to Defendant’s promises that it was safe: and (c) the Product did

not have the characteristics as promised by Defendant.

       81.     Plaintiffs and Members of the Nationwide Class have been harmed by this injury,

adverse consequence, or loss.

       82.     The MUDBPA represents a fundamental public policy of the Commonwealth of

Massachusetts.

       83.     For each loss, Plaintiffs and each Nationwide Class Member may recover an

award of actual damages or twenty-five dollars, whichever is greater. Ch. 93A § 9(3).

       84.     Because Defendant acted willfully or knowingly, Plaintiffs and each Member of

the Nationwide Class may recover up to three but not less than two times this amount. In

addition, Plaintiffs may recover attorney’s fees and costs.

       85.     Plaintiffs and the Members of the Nationwide Class may also seek the imposition

of an injunction relief which limits and polices Defendant’s representations within or reaching

Massachusetts. The balance of the equities favors the entry of permanent injunctive relief

against Defendant. Plaintiffs, members of the Nationwide Class, and the general public will be

irreparably harmed absent the entry of permanent injunctive relief against Defendant. Plaintiffs,

Members of the Nationwide Class, and the general public lack an adequate remedy at law. A

permanent injunction against Defendant is in the public interest. Defendant’s unlawful behavior

is capable of repetition or reoccurrence absent the entry of a permanent injunction.

       86.     In accordance with Massachusetts General Laws Chapter 93A, § 9(3) on February

5, 2024, prior to the filing of this Complaint, Defendant received from Plaintiffs’ counsel a pre-

suit notice letter, apprising Defendant of its breach of warranties regarding the Product. The




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letter was sent via certified mail, return receipt requested. The letter stated that it was sent on

behalf of Plaintiffs and all other similarly situated purchasers. Defendant did not make any

changes to the Product and did not pull the Product from the marketplace.

                                          COUNT II
                      Violation of California’s Unfair Competition Law,
                    California Business & Professions Code § 17200, et seq.
                           (On Behalf Of The California Subclass)

       87.     Plaintiff Deng incorporates the foregoing allegations as if fully set forth herein.

       88.     Plaintiff Deng brings this claim individually and on behalf of the California

Subclass against Defendant.

       89.     California Business and Professions Code § 17200 prohibits “any unlawful,

unfair, or fraudulent business act or practice.” For the reasons discussed above, Defendant has

engaged in unlawful, unfair, and fraudulent business acts or practices in violation of California

Business & Professions Code § 17200.

       90.     By committing the acts and practices alleged herein, Defendant has violated

California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200-17210, as to

the California Subclass, by engaging in unlawful, fraudulent, and unfair conduct.

       91.     Defendant has violated the UCL’s proscription against engaging in Unlawful

Business Practices because of its violations of the CLRA, Cal. Civ. Code § 1770(a)(5), (a)(7),

and (a)(9) as alleged below, violations of California’s Song-Beverly Act, and violations of

California’s False Advertising Law, in addition to breach of warranty and violations of common

law.

       92.     As more fully described above, Defendant’s misleading marketing, advertising,

packaging, and labeling of the Product is likely to deceive reasonable consumers. In addition,




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Defendant has committed unlawful business practices by, inter alia, making the representations

and omissions of material facts, as set forth more fully herein, and violating the common law.

       93.     Plaintiff Deng and the California Subclass Members reserve the right to allege

other violations of law which constitute other unlawful business acts or practices.

       94.     Defendant has also violated the UCL’s proscription against engaging in Unfair

Business Practices. Defendant’s acts, omissions, misrepresentations, practices and non-

disclosures as alleged herein also constitute “unfair” business acts and practices within the

meaning of Business & Professions Code § 17200 et seq. in that its conduct is substantially

injurious to consumers, offends public policy, and is immoral, unethical, oppressive, and

unscrupulous as the gravity of the conduct outweighs any alleged benefits attributable to such

conduct.

       95.     There were reasonably available alternatives to further Defendant’s legitimate

business interests, other than the conduct described herein.

       96.     Defendant has further violated the UCL’s proscription against engaging in

Fraudulent Business Practices. Defendant’s claims, nondisclosures, and misleading statements

with respect to the Product, as more fully set forth above, were false, misleading and/or likely to

deceive the consuming public within the meaning of Business & Professions Code § 17200.

       97.     Plaintiff Deng and the other California Subclass Members suffered a substantial

injury by virtue of buying the Product that they would not have purchased, or paying more than

they otherwise would have for the Product, absent Defendant’s unlawful, fraudulent, and unfair

marketing, advertising, packaging, and omission about the defective nature of the Product.

       98.     There is no benefit to consumers or competition from deceptively marketing and

omitting materials facts about the true nature of the Product.




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       99.     Plaintiff Deng and the other California Subclass Members had no way of

reasonably knowing that the Product they purchased was not as marketed, advertised, packaged,

or labeled. Thus, they could not have reasonably avoided the injury each of them suffered.

       100.    The gravity of the consequences of Defendant’s conduct as described outweighs

any justification, motive, or reason therefore, particularly considering the available legal

alternatives which exist in the marketplace, and such conduct is immortal, unethical,

unscrupulous, offends established public policy, or is substantially injurious to Plaintiff Deng

and the other California Subclass Members.

       101.    Pursuant to California Business and Professional Code § 17203, Plaintiffs and the

California Subclass seek an order of this Court that includes, but is not limited to, requiring

Defendant to (a) provide restitution to Plaintiff Deng and the other California Subclass Members;

(b) disgorge all revenues obtained as a result of violations of the UCL; and (c) pay Plaintiff

Deng’s and the California Subclass’s attorneys’ fees and costs.

                                          COUNT III
              Violation of California’s Consumer Legal Remedies Act (“CLRA”),
                              California Civil Code § 1750, et seq.
                            (On Behalf Of The California Subclass)

       102.    Plaintiff Deng incorporates the foregoing allegations as if fully set forth herein.

       103.    Plaintiff Deng brings this claim individually and on behalf of the members of the

proposed California Subclass against Defendant.

       104.    California Civil Code § 1770(a)(5) prohibits “[r]representing that goods or

services have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities

which they do not have….”




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       105.    California Civil California Civil Code § 1770(a)(7) prohibits “[r]epresenting that

goods or services are of a particular standard, quality, or grade, or that goods are of a particular

style or model, if they are of another.”

       106.    California Civil Code § 1770(a)(9) prohibits “[a]dvertising goods or services with

intent not to sell them as advertised.”

       107.    Defendant violated California Civil Code § 1770(a)(5), (a)(7), and (a)(9) by

marketing that the Product is safe, when in fact the Product is not safe for its intended use.

       108.    Defendant’s representations are untrue because testing of the Product showed

heightened levels of PFAS. Thus, Defendant cannot represent the product as being safe because

it contains PFAS that subject unsuspecting consumers’ children to significant health risks.

       109.    Defendant has exclusive knowledge of the Product’s composition, which was not

known to Plaintiffs or the California Class Members.

       110.    Defendant made partial representations to Plaintiff Deng and the California

Subclass Members, while suppressing the true nature of the Product. Specifically, by

representing the Product as safe including on the Product packaging, on its website, and in its

marketing, without disclosing that the Product is unsafe and detrimental to human health. As

described above, Defendant was in receipt of knowledge pertaining to PFAS in its Product, and

yet has continued to omit that material information from consumers.

       111.    Plaintiff Deng and the California Subclass Members have suffered harm as a

result of these violations of the CLRA because they have incurred charges and/or paid monies

for a Product that they otherwise would not have incurred or paid for had they known the truth

about the Product, and unknowingly exposed their children to a health risk.




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       112.    On February 5, 2024, prior to the filing of this Complaint, Defendant received a

CLRA notice letter from Plaintiffs’ counsel, which complies in all respects with California Civil

Code § 1782(a). The letter was sent via certified mail, return receipt requested, advising

Defendant that they were in violation of the CLRA and demanding that they cease and desist

from such violations and make full restitution by refunding the monies received therefrom. The

letter stated that it was sent on behalf of all other similarly situated purchasers. Defendant has

not taken any corrective action in response to the letter.

       113.    Accordingly, Plaintiff Deng and the California Subclass Members seek all

available relief under the CLRA, including restitution, damages, injunctive relief, the payment of

costs and attorney’s fees, and any other relief deemed appropriate and proper by the Court.

                                          COUNT IV
                   Violation of California’s False Advertising Law (“FAL”)
                         California Bus. & Prof. Code § 17500, et seq.
                            (On Behalf Of The California Subclass)

       114.    Plaintiff Deng incorporates the foregoing allegations as if fully set forth herein.

       115.    Plaintiff Deng brings this claim individually and on behalf of the California

Subclass against Defendant.

       116.    Defendant’s acts and practices, as described herein, have deceived and/or are

likely to continue to deceive California Subclass Members and the public. As described above,

and throughout this Complaint, Defendant misrepresented the Product as free from harmful

chemicals and thus safe for infants and babies, when in fact, the Product was not safe because of

its inclusion of PFAS chemicals.

       117.    By its actions, Defendant disseminated uniform advertising regarding the Product

to and across California. The advertising was, by its very nature, unfair, deceptive, untrue, and

misleading within the meaning of California Business & Professions Code § 17500, et seq. Such



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advertisements were intended to and likely did deceive the consuming public for the reasons

detailed herein.

       118.    The above-described false, misleading, and deceptive advertising Defendant

disseminated continues to have a likelihood to deceive in that Defendant failed to disclose that

the Product contains substances that pose a significant risk to the health and well-being of

Plaintiff Deng and the California Subclass Members.

       119.    Defendant continues to misrepresent to consumers that the Product is safe for its

intended use. However, as described, that is not the case.

       120.    In making and disseminating these statements, Defendant knew, or should have

known, its advertisements were untrue and misleading in violation of California law. Plaintiff

Deng and other California Subclass Members based their purchasing decisions on Defendant’s

misrepresentation and omissions of material facts. Plaintiff Deng and California Subclass

Members were injured in fact and lost money and property as a result.

       121.    The misrepresentations and non-disclosures by Defendant of the material facts

described and detailed herein constitute false and misleading advertising and, therefore,

constitute a violation of California Business & Professions Code § 17500, et seq.

       122.    As a result of Defendant’s wrongful conduct, Plaintiff Deng and California

Subclass Members lost money in an amount to be proven at trial. Plaintiff Deng and California

Subclass Members are therefore entitled to restitution as appropriate for this cause of action.

       123.    Plaintiff Deng and California Subclass Members seek all monetary and non-

monetary relief allowed by law, including restitution of all profits stemming from Defendant’s

unfair, unlawful, and fraudulent business practices; declaratory relief; reasonable attorneys’ fees




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and costs under California Code of Civil Procedure § 1021.5; injunctive relief; and other

appropriate equitable relief.

       124.    Restitution and/or injunctive relief may also be more certain, prompt, and

efficient than other legal remedies requested herein. The return of the full premium price, and an

injunction requiring either (1) adequate disclosure of the PFAS in the Product and its effects; or

(2) the removal of such chemicals from the Product, will ensure that Plaintiffs are in the same

place they would have been in had Defendant’s wrongful conduct not occurred, i.e., the position

to make an informed decision about the purchase of the Product absent omissions and

misrepresentations with the full purchase price at their disposal.

                                         COUNT V
                Breach Of Implied Warranty Under The Song-Beverly Act
       California Civil Code § 1700, et seq. And California Commercial Code § 2314
                          (On Behalf Of The California Subclass)

       125.    Plaintiff Deng incorporates the foregoing allegations as if fully set forth herein.

       126.    Plaintiff Deng brings this claim individually and on behalf of the California Class

against Defendant under California law.

       127.    Under the Song-Beverly Consumer Warranty Act, California Civil Code § 1790.

et seq., and California Commercial Code § 2314, every sale of consumer goods in the State of

California is accompanied by both a manufacturer’s and retailer seller’s implied warranty that

the goods are merchantable, as defined in that Act. In addition, every sale of consumer goods in

California is accompanied by both a manufacturer’s and retail seller’s implied warranty of fitness

when the manufacturer or retailer has reason to know that the goods as represented have a

particular purpose and that the buyer is relying on the manufacturer’s or retailer’s skill or

judgment to furnish suitable goods consistent with that represented purpose.




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       128.    The Product at issue here falls under “consumer goods” within the meaning of

California Civil Code § 1791(a).

       129.    Plaintiff Deng and the California Class Members who purchased the Product are

“retail buyers” within the meaning of California Civil Code § 1791.

       130.    Defendant is in the business of manufacturing, assembling, and/or producing the

Product and/or selling the Product to retail buyers, and therefore is a “manufacturer” and “seller”

within the meaning of California Civil Code § 1791.

       131.    Defendant impliedly warranted to retailer buyers that the Product was

merchantable in that they would: (a) pass without objection in the trade or industry under the

contract description, and (b) were fit for the ordinary purposes for which the Product us used.

For a consumer good to be “merchantable” under the Act, it must satisfy both elements.

Defendant breached these implied warranties because the Product is unsafe for use on babies.

Therefore, the Product would not pass without objection in the trade or industry and is not fit for

the ordinary purpose for which it is used.

       132.    Plaintiff Deng and California Subclass Members purchased the Product in

reliance upon Defendant’s skill and judgment in properly packaging, labeling, and marketing the

Product.

       133.    The Product was defective at the time of sale when it was under the exclusive

control of Defendant. The issues described in this complaint were latent in the Product and not

reasonably discoverable at the time of sale.

       134.    Defendant knew that the Product would be purchased and used without additional

testing by Plaintiff Deng and California Subclass Members.




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         135.   As a direct and proximate cause of Defendant’s breach of the implied warranty,

Plaintiff Deng and California Subclass Members have been injured and harmed because they

would not have purchased the Product if they knew the truth about the Product, namely, that it is

unfit for use and posed a significant safety risk.

         136.   Plaintiff Deng and the California Subclass seek compensatory damages,

attorneys’ fees, costs, and any other just and proper relief available under law.

                                          COUNT VI
                                             Fraud
                              (On Behalf Of The Nationwide Class)

         137.   Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

         138.   Plaintiffs bring this claim individually and on behalf of the Nationwide Class

under Massachusetts law.

         139.   Defendant falsely represented to Plaintiffs and the Nationwide Class that the

Product was safe.

         140.   Defendant intentionally, knowingly, and recklessly made these misrepresentations

to induce Plaintiffs and the Nationwide Class to purchase the Product.

         141.   Defendant knew or should have known that its representations about the Product

were false in that the Product is not safe as discussed throughout.

         142.   Defendant knowingly allowed its packaging, labels, advertisements, promotional

materials, and websites to intentionally mislead consumers, such as Plaintiffs and the Nationwide

Class.

         143.   Plaintiffs and the Nationwide Class did in fact rely on these misrepresentations

and purchased the Product to their detriment. Given the deceptive manner in which Defendant

advertised, marketed, represented, and otherwise promoted the Product, Plaintiffs’ and the

Nationwide Class’s reliance on Defendant’s misrepresentations was justifiable.


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       144.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and the

Nationwide Class have suffered actual damages in that they would not have purchased the

Product at all had they known of the safety risks associated with the Product and that they do not

conform to the Product’s labels, packaging, advertising, and statements.

       145.    Plaintiffs and the Nationwide Class seek actual damages, attorney’s fees, costs,

and other such relief the Court deems proper.

                                         COUNT VII
                             Fraudulent Concealment Or Omission
                             (On Behalf Of The Nationwide Class)

       146.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       147.    Plaintiffs bring this claim individually and on behalf of the Nationwide Class

under Massachusetts law.

       148.    At all relevant times, Defendant was engaged in the business of designing,

manufacturing, distributing, and selling the Product.

       149.    Defendant, acting through its representatives or agents, delivered the Product to

its distributors and various other distribution channels.

       150.    Defendant willfully, falsely, and knowingly omitted various material facts

regarding the quality and character of the Product as discussed throughout.

       151.    Rather than inform consumers of the truth regarding the Product, Defendant

misrepresented the quality of the Product as discussed herein at the time of purchase.

       152.    Defendant made these material misrepresentations to boost or maintain sales of

the Product, and to falsely assure purchasers of the Product that Defendant is a reputable

company and that its Product is safe for use. The false representations were material to

consumers because the omissions played a significant role in the value of the Product purchased.




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       153.    Plaintiffs and Nationwide Class Members accepted the terms of use, which were

silent on the true nature of the Product, as discussed throughout. Plaintiffs and Nationwide Class

Members had no way of knowing Defendant’s omissions as to the Product and had no way of

knowing that Defendant’s omissions were misleading.

       154.    Although Defendant had a duty to ensure the safety, completeness, and accuracy

of the information regarding the Product, it did not fulfill these duties. Nor did Defendant fulfill

its duty stemming from its incomplete partial representations.

       155.    Defendant omitted or concealed material facts partly to pad and protect its profits,

as it saw that profits and sales of the Product were essential for its continued growth and to

maintain and grow its reputation as a seller of the Product. Such benefits came at the expense of

Plaintiffs and Nationwide Class Members.

       156.    Plaintiffs and Nationwide Class Members were unaware of these material

omissions, and they would not have acted as they did, had they known the truth. Plaintiffs’ and

the Nationwide Class Members’ actions were justified given Defendant’s omissions. Defendant

was in the exclusive / superior control of material facts, and such facts were not widely known to

the public.

       157.    Due to Defendant’s misrepresentations, Plaintiffs and Nationwide Class Members

sustained injury due to the purchase of the Product that did not live up to its advertised

representations. Plaintiffs and Nationwide Class Members are entitled to recover full refunds for

the Product they purchased due to Defendant’s omissions.

       158.    Defendant’s acts were done maliciously, oppressively, deliberately, and with

intent to defraud, and in reckless disregard of Plaintiffs and Nationwide Class Members’ rights

and well-being, and in part to enrich itself at the expense of consumers. Defendant’s acts were




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done to gain commercial advantage over competitors, and to drive consumers away from

consideration of competing products. Defendant’s conduct warrants an assessment of punitive

damages in an amount sufficient to deter such conduct in the future.

                                         COUNT VIII
                                  Negligent Misrepresentation
                              (On Behalf Of The Nationwide Class)

       159.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       160.    Plaintiffs bring this claim individually and on behalf of the Nationwide Class

under Massachusetts law.

       161.    Defendant had a duty to Plaintiffs and the Nationwide Class to exercise

reasonable and ordinary care in the developing, testing, manufacture, marketing, detailing,

distribution, and sale of the Product.

       162.    Defendant breached its duty to Plaintiffs and the Nationwide Class by developing,

testing, manufacturing, marketing, detailing, distributing, and selling the Product to Plaintiffs and

the Nationwide Class that did not have the qualities, characteristics, and suitability for use as

advertised by Defendant and by failing to promptly remove the Product from the marketplace or

take other appropriate remedial action.

       163.    Defendant knew or should have known that the qualities and characteristics of the

Product was not as advertised, marketed, detailed, or otherwise represented or suitable for its

intended use and were otherwise not as warranted and represented by Defendant. Specifically,

Defendant knew or should have known that the Product was not safe for use.

       164.    Plaintiffs and Nationwide Class Members were unaware of these facts, and they

would not have acted as they did, had they known the truth. Plaintiffs’ and the Nationwide Class

Members’ actions were reasonable given the information they had.




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       165.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and the

Nationwide Class have suffered actual damages in that they would not have purchased the

Product at all had they known that the Product was not safe for use and that the Product does not

conform to the labeling, packaging, advertising, and statements.

       166.    Plaintiffs and the Nationwide Class seek actual damages, attorneys’ fees, costs,

and any other just and proper relief available.

                                        COUNT VIIII
                                     Unjust Enrichment
                             (On Behalf Of The Nationwide Class)

       167.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       168.    Plaintiffs bring this claim individually and on behalf of the Nationwide Class

under Massachusetts law.

       169.    To the extent required by law, this cause of action is alleged in the alternative to

legal claims, as permitted under Fed. R. Civ. P. 8.

       170.    Plaintiffs and the Nationwide Class Members conferred benefits on Defendant by

purchasing the Product.

       171.    Defendant was unjustly enriched in retaining the revenues derived from Plaintiffs

and the Nationwide Class Members’ purchases of the Product. Retention of those monies under

these circumstances is unjust and inequitable because Defendant misrepresented and failed to

disclose that the Product was unfit for its intended purpose as it was not safe for use. These

omissions and misrepresentations caused injuries to Plaintiffs and the Nationwide Class

Members because they would not have purchased the Product if the true facts were known.

       172.    Because Defendant’s retention of the non-gratuitous benefits conferred on them

by Plaintiffs and the Nationwide Class Members is unjust and inequitable, Defendant has been

unjustly enriched in an amount to be determined at trial.


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        173.    Here, equitable relief in the form of non-restitutionary disgorgement of profits is

appropriate because Plaintiffs may lack an adequate remedy at law if, for instance, damages

resulting from her purchase of the Product is determined to be an amount less than the premium

price of the Product. Without compensation for the full premium price of the Product, Plaintiffs

and the Nationwide Class Members would be left without the parity in purchasing power to

which they are entitled.

        174.    Non-restitutionary disgorgement of profits may also be more certain, prompt, and

efficient than other legal remedies requested herein. The return of the full premium price will

ensure that Plaintiffs and the Class Members are in the same place they would have been in had

Defendant’s wrongful conduct not occurred, i.e., the position to make an informed decision

about the purchase of the Product absent omissions and misrepresentations with the full purchase

price at their disposal.

                                          COUNT X
                                 Breach Of Express Warranty
                              (On Behalf Of The Nationwide Class)

        175.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

        176.    Plaintiffs bring this claim individually and on behalf of the Nationwide Class

under Massachusetts law.

        177.    Plaintiffs and Nationwide Class Members formed a contract with Defendant at the

time Plaintiffs and Nationwide Class Members purchased the Product.

        178.    The terms of the contract include the promises and affirmations of fact made by

Defendant on the Product packaging and through marketing and advertising, as described above.

        179.    This labeling, marketing, and advertising constitutes express warranties and

became part of the basis of the bargain and are part of the standardized contract between

Plaintiffs and Nationwide Class Members.


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         180.   As set forth above, Defendant purports through its advertising, labeling,

marketing, and packaging, to create an express warranty that the Product is safe for their

intended use.

         181.   Plaintiffs and Nationwide Class Members performed all conditions precedent to

Defendant’s liability under this contract when they purchased the Product.

         182.   Defendant breached express warranties about the Product and its qualities because

despite Defendant’s warranties that the Product is safe for use, the Product is objectively not safe

for use. Thus, the Product did not confirm to Defendant’s affirmations and promises described

above.

         183.   Plaintiffs and each Nationwide Class Member would not have purchased the

Product had they known the true nature of the Product.

         184.   As a result of Defendant’s breach of express warranty, Plaintiffs and each

Nationwide Class Member suffered and continues to suffer financial damage and injury, and are

entitled to all damages, in addition to costs, interest and fees, including attorneys’ fees, as

allowed by law.

                                          COUNT XI
                                  Negligent Failure To Warn
                              (On Behalf Of The Nationwide Class)

         185.   Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

         186.   Plaintiffs bring this claim individually and on behalf of the Nationwide Class

under Massachusetts law.

         187.   At all relevant times, Defendant was responsible for designing, constructing,

testing, manufacturing, inspecting, distributing, labeling, marketing, advertising, and/or selling

the Product. At all relevant times, it was reasonably foreseeable by Defendant that the use of the




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Product in its intended manner involved substantial risk of injury and was unreasonably

dangerous to Plaintiffs’ children and the Nationwide Class as the ultimate users of the Product.

        188.    At all relevant times, Defendant knew or had reason to know of the risk of injury

and the resultant harm that the Product posed to Plaintiffs and Nationwide Class Members, as the

Defect existed at the time of its design, construction, manufacture, inspection, distribution,

labeling, marketing, advertising, and/or sale, as described herein.

        189.    Defendant as the designer, manufacturer, tester, distributor, marketer, advertiser,

and/or seller of the Product, had a duty to warn Plaintiffs and the Nationwide Class of all dangers

associated with the intended use of the Product.

        190.    At minimum, the duty arose for Defendant to warn consumers that use of the

Product could result in injury and was unreasonably dangerous.

        191.    Defendant was negligent and breached its duty of care by negligently failing to

provide warnings to purchasers and users of the Product, including Plaintiffs and the Nationwide

Class, regarding the true nature of the Product, its risks, and potential dangers.

        192.    Defendant was negligent and breached its duty of care by concealing the risks of

and failing to warn consumers that the Product contain PFAS known to cause adverse health

effects in children.

        193.    Defendant knew, or through the exercise of reasonable care, should have known

of the inherent Defect and resulting dangers associated with using the Product as described

herein, and knew that Plaintiffs and Nationwide Class Members could not reasonably be aware

of those risks. Defendant failed to exercise reasonable care in providing Plaintiffs and the

Nationwide Class with adequate warnings.




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        194.    As a direct and proximate result of Defendant’s failure to adequately warn

consumers that the use of the Product, including its intended use, could cause and has cause

injuries and other damages, Plaintiffs and the Nationwide Class have suffered damages, as

described herein.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request, individually and on behalf of the alleged

Classes, that the Court enter judgment in their favor and against Defendant as follows:

                (a)     For an order certifying the Classes under Rule 23 of the Federal
                        Rules of Civil Procedure, naming Plaintiffs as the representatives
                        of the Classes, and naming Plaintiffs’ attorneys as Class Counsel;

                (b)     For an order declaring that Defendant’s conduct violates the causes
                        of action referenced herein;

                (c)     For an order finding in favor of Plaintiffs and the Class and
                        Subclass on all counts asserted herein;

                (d)     For compensatory, statutory, and punitive damages in amounts to
                        be determined by the Court and/or jury;

                (e)     For prejudgment interest on all amounts awarded;

                (f)     For an order of restitution and all other forms of equitable
                        monetary relief;

                (g)     For injunctive relief as pleaded or as the Court may deem proper;
                        and;

                (h)     For an order awarding Plaintiffs and the Class and Subclass their
                        reasonable attorneys’ fees and expenses and costs of suit.

                                    JURY TRIAL DEMANDED

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of any

and all issues in this action so triable as of right.




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Dated: April 2, 2024          Respectfully submitted,


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                                     By: /s/ Joel D. Smith_____________
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